Case 1:18-cv-00588-LPS Document 183 Filed 03/08/19 Page 1 of 3 PageID #: 10742



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,

                              Plaintiff,                 C.A. No. 18-588-LPS-SRF

           v.


WORKSPOT, INC.

                              Defendant.


  STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEUDLE

       WHEREAS, on March 7, 2019, the parties participated in a teleconference with the Court

regarding a process for briefing the issues outlined in the February 7, 2019 and March 4, 2019

Discovery Dispute Letters (D.I. 173 and 180);

       WHEREAS, the parties have agreed that (1) on March 19, 2019, Workspot will submit to

the Court 25 documents from Workspot’s privilege log, identified in advance to Workspot by

Citrix, for the Court’s in camera review, and (2) the parties will file with the Court four-page

opening and answering briefs and two-page reply briefs concerning the issues outlined in the

February 7, 2019 and March 4, 2019 Discovery Dispute Letters according to the following

briefing schedule:

                      EVENT                                         DEADLINE
Defendant to file Opening Letter Brief re: Attorneys’              March 19, 2019
                   Fees [D.I. 180]

  Plaintiff to file Opening Letter Brief re: Forensic              March 19, 2019
   Inspection of Mr. Chawla’s Devices [D.I. 173]

 Plaintiff to file Opening Letter Brief re: Workspot’s             March 19, 2019
                 Privilege Log [DI. 173]



EAST\165274532.1
Case 1:18-cv-00588-LPS Document 183 Filed 03/08/19 Page 2 of 3 PageID #: 10743



Defendant to file Opening Letter Brief re: Workspot’s                   March 19, 2019
               Privilege Log [DI. 173]

Plaintiff to file Answering Letter Brief re: Attorneys’                 March 22, 2019
                     Fees [D.I. 180]

Defendant to file Answering Letter Brief re: Forensic                   March 22, 2019
   Inspection of Mr. Chawla’s Devices [D.I. 173]

 Defendant to file Reply Letter Brief re: Attorneys’                    March 25, 2019
                   Fees [D.I. 180]

   Plaintiff to file Reply Letter Brief re: Forensic                    March 25, 2019
   Inspection of Mr. Chawla’s Devices [D.I. 173]

 Defendant to file Reply Letter Brief re: Workspot’s                    March 25, 2019
               Privilege Log [DI. 173]

  Plaintiff to file Reply Letter Brief re: Workspot’s                   March 25, 2019
                 Privilege Log [DI. 173]

               Teleconference Hearing                             March 27, 2019 at 1:00 PM


       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for the

parties, subject to the approval of the Court, that the briefing schedule for resolution of the issues

raised in the February 7, 2019 and March 4, 2019 Discovery Dispute Letters is granted.




EAST\165274532.1
Case 1:18-cv-00588-LPS Document 183 Filed 03/08/19 Page 3 of 3 PageID #: 10744



Dated: March 8, 2019                           Respectfully submitted,

DLA PIPER LLP (US)                             POTTER ANDERSON & CORROON LLP

  /s/ Denise S. Kraft                          /s/ Bindu A. Palapura
Denise S. Kraft (DE Bar No. 2778)              David E. Moore (#3983)
Brian A. Biggs (DE Bar No. 5591)               Bindu A. Palapura (#5370)
1201 North Market Street, Suite 2100           Stephanie E. O’Byrne (#4446)
Wilmington, DE 19801                           Hercules Plaza, 6th Floor
Telephone: (302) 468-5700                      1313 N. Market Street
Facsimile: (302) 394-2341                      Wilmington, DE 19801
denise.kraft@dlapiper.com                      Tel: (302) 984-6000
brian.biggs@dlapiper.com                       dmoore@potteranderson.com
                                               bpalapura@potteranderson.com
                                               sobyrne@potteranderson.com
Attorneys for Plaintiff Citrix Systems, Inc.
                                               Attorneys for Defendant Workspot, Inc.




IT IS SO ORDERED this ____ day of March, 2019.



                                                 _________________________________
                                                       United States District Judge




EAST\165274532.1
